Case: 2:11-cv-01016-EAS-MRM Doc #: 1874 Filed: 07/18/18 Page: 1 of 2 PAGEID #: 74624




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       EASTERN DIVISION AT COLUMBUS

  In re: OHIO EXECUTION
   PROTOCOL LITIGATION,                                :       Case No. 2:11-cv-1016

                                                               Chief Judge Edmund A. Sargus, Jr.
                                                               Magistrate Judge Michael R. Merz

  This Order relates to all Plaintiffs




                                              ORDER


          This case is before the Court sua sponte following the execution of Robert Van Hook on

  this date. To preserve potential evidence pending future litigation by the remaining Plaintiffs, and

  in concert with past practice of this Court, it is hereby ORDERED:

  (1)     Defendants shall adhere to this Court’s prior discovery orders regarding the photographing

          of the medication vials, the boxes in which they were packaged, and the syringes used in

          the administration of the protocol drugs during the execution of Robert Van Hook on July

          18, 2018. To the extent Defendants have a good faith belief that producing unredacted

          photographs to Plaintiffs will violate H.B. 663, they shall produce unredacted photographs

          to the Court for in camera inspection.

  (2)     Defendants shall preserve without alteration the medication vials, the boxes in which they

          were packaged, the intravenous tubing, and the syringes used in the administration of the

          protocol drugs at the Van Hook execution.




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Case: 2:11-cv-01016-EAS-MRM Doc #: 1874 Filed: 07/18/18 Page: 2 of 2 PAGEID #: 74625



  (3)    Defendants shall file with the Court the timeline of the Van Hook execution without delay

         and as soon as possible.



                   Plaintiff Van Hook having been executed this date and given that his action for

         injunctive relief does not survive, the above-captioned action is dismissed as to Mr. Van

         Hook.



  July 18, 2018.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge




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